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 2                                                                               MAY 1 7 2011
 3                                                                         CLERK. U.8. DlSTRIC'f COURT
                                                                        SOUTHERN DISTRICT at CALIFORNIA
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 8                            UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIF+NIA
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11                                                           CASE NO. lImc         111& 0676
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13
      In the Matter of Attorneys Suspended or
      Disbarred by the State Bar of California,              Order to   srw   Cause

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17          The Court has received notice that the following attorneys have been suspended or

18   disbarred by the State Bar of California:

19          Disbarment:
            Stephen Paul Collette (CaL Bar #186439)
20          Aftab Alam Malik (Cal. Bar #171926)
            Tom George Kontos (CaL Bar #044539)
21          Donald Alan Yates (CaL Bar #135775)

22          Suspension:
            Clifford Alexander Dover (CaL Bar #169838)
23          Brian D. McMahon (CaL Bar #147662)
            Rhonda Kay Walker (Cal. Bar #175108)
24          Eduardo A Rivera (CaL Bar #062528)
            Richard Lynn Barrett (Cal. Bar #140747)
25          Brian Vincent Donnelly (CaL Bar #162987)
            Scott Smith Furstman (CaL Bar #076476)
26          Frank Patrick Sprouls (Cal. Bar #166019)
            William Bransfield Sullivan (Cal. Bar #171637)
27
            Involuntary Inactive Enrollment:
28          Philip Eric Myers (CaL Bar #077543)
            David M. Robinson (CaL Bar #175913)

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 1               Patricia Ann Gregory (Cal. Bar #226239)
                 Steven Paul Nieto (Cal. Bar #080474)
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3    Pursuant to Civil Local Rule 83.3(c)(1)(a), only attorneys who are active members in good

4    standing ofthe State Bar of California may be admitted to and continue membership in the bar of

5    this Court.

6                Therefore, pursuant to Civil Local Rule 83.5(d), the Court hereby orders the listed attorneys

 7   to show cause in writing, within thirty (30) days of the service of this order, why they should not be

 8   suspended or disbarred from practicing in this Court. If an attorney opposes the imposition of

 9   discipline, his written response must establish one or more of the following:

10                (i)          the procedure in the other jurisdiction was so lacking in notice or opportunity to be
                               heard as to constitute a deprivation of due process;
11
                  (ii)         there was such an infirmity of proof establishing the misconduct as to give rise to a
12                             clear conviction that the Court should not accept as final the other jurisdiction'S
                               conclusion(s) on that subject;
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                  (iii)        imposition of like discipline would result in a grave injustice; or
14
                  (iv)         other substantial reasons exist so as to justify not accepting the other jurisdiction'S
15                             conclusion(s).

16   Civ. L.R. 83.5(d). In addition, at the time the response is filed, the attorney must produce a
17   certified copy of the entire record from the other jurisdiction or bear the burden of persuading the
18   Court that less than the entire record will suffice.

19                The Clerk of the Court is directed to serve a copy of this order by mail upon each of the

20   listed attorneys at the address indicated in this Court's attorney maintenance records.
21                IT IS SO ORDERED.
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     Dated: --:ti=-r/t-'-t--lIV(f-'-'--((_ _
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